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     U.S, DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA
          RECEIVED UNITED STATES DISTRICT COURT
        DEC
                                WESTERN DISTRICT OF LOUISIANA
  TONY R. h/igtoi^yOTRK
  BY.
                     ^OTv- LAFAYETTE DIVISION

  UNITED STATES OF AMERICA * CRIMINAL NO.
                                            * 18U.S.C.§1347
                                            * 18U.S.C.§2
  VERSUS                                 *
                                                  6:23-cr-00290-01

  SHANONE CHATMAN-ASHLEY (oi)* Muadg9^a°tseeJpudge Whitehurst


                                         INDICTMENT

  THE GRAND JURY CHARGES:

                                         COUNTS 1 - 5
                                    HEALTH CARE FRAUD
                                    [18 U.S.C. §§ 1347 and 2]

  AT ALL TIMES HEREIN RELEVANT:

                                    The Medicare Proffram

              1. The Medicare Program ("Medicare") was a federal health insurance

  program, affecting commerce, that provided benefits to persons who were 65 years of


  age and older or disabled. Medicare was administered by the United States Department

  of Health and Human Services, through its agency, the Centers for Medicare and

  Medicaid Services.


           2. Medicare was a "health care benefit program" within the meaning of Title

  18, United States Code, Section 24(b), and a "Federal health care program" within the

  meaning of Title 42, United States Code, Section 1320a-7b(Q.
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       3. Individuals who qualified for Medicare benefits were commonly referred to

as "beneficiaries." Each beneficiary was given a unique Medicare identification number.

       4. As part of the Medicare enrollment process, health care providers,


including nurse practitioners ("providers ), submitted enrollment applications to

Medicare. The Medicare provider enrollment application, CMS Form 855B, required a

provider, or an authorized representative of the provider, to certify that the provider

would comply with all Medicare-related laws, rules, and regulations, including that the

provider <(w[ould] not knowingly present or cause to be presented a false or fraudulent

claim for payment by Medicare" and <<w[ould] not submit claims with deliberate

ignorance or reckless disregard of their truth or falsify."

      5. If Medicare approved a provider's application, Medicare assigned the

provider a Medicare provider number. A provider with a Medicare provider number

could submit claims to Medicare to obtain reimbursement for medically necessary items

and services rendered to beneficiaries. Medicare providers were given access to


Medicare manuals and service bulletins describing procedures, rules, and regulations.


      6. When seeking reimbursement from Medicare, providers submitted the cost

of the service provided together with the appropriate "procedure code," as set forth in

the Current Procedural Terminology Manual or the Healthcare Common Procedure

Coding System ("HCPGS").

      7. Medicare included coverage under component parts. Medicare Part B


covered, among other things, physician services, outpatient care, and durable medical


equipment.
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                             Durable Medical Equipment

       8. Durable medical equipment ( DME") was reusable medical equipment

such as orthotic devices, walkers, canes, and hospital beds. Orthotic devices were a type


of DME that included knee braces, back braces, shoulder braces, and wrist braces

(collectively, braces ), as well as orthotic sleeves.

      9. Medicare reimbursed DME providers for medically necessary items and

services rendered to beneficiaries. In claims submitted to Medicare for the

reimbursement of provided DME, providers were required to set forth, among other

information, the beneficiary s name and unique Medicare identification number, the

equipment provided to the beneficiary, the date the equipment was provided, the cost


of the equipment, and the name and provider number of the provider who prescribed or

ordered the equipment.


       10. Medicare would pay claims for the provision ofDME only if the equipment

was ordered by a licensed provider, was reasonable and medically necessary for the


treatment of the diagnosed and covered condition, and was actually provided to

beneficiaries. For certain types of orthotics, such as knee braces, Medicare required


that a provider conduct an in-person examination of a beneficiary. Knee braces ordered


without an in-person examination were not medically necessary. Medicare claims were


required to be properly documented in accordance with Medicare rules and regulations.

Medicare would not reimburse providers for claims that were procured through the

payment ofkickbacks and bribes.
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                                     Telemedicine

       11. Telemedicine was a means of remotely connecting patients to health care

providers by using telecommunication technology, such as the internet or a telephone.


       12. Medicare deemed telemedicine an appropriate means to provide certain

health care related services ("telehealth services ) to beneficiaries, including, among

other services, consultations and office visits, only when certain requirements were met.


These requirements included, among others: (a) that the beneficiary was located in a

rural area (outside a Metropolitan Statistical Area or in a rural health professional

shortage area); (b) that the services were delivered via an interactive audio and video


telecommunications system; and. (c) that the beneficiary was at a practitioner's office or

a specified medical facility—not at a beneficiary's home—during the telehealth service

furnished by a remote provider.

      13. Telehealth services could be covered by and reimbursable under Medicare,

but only if telemedicine was generally appropriate, as outlined above, and only if the

services were both ordered by a licensed provider and were reasonable and medically

necessary to diagnose and treat a covered illness or condition.


                       The Defendant and Relevant Entities

      14. The defendant, Shanone Chatman-Ashley, a resident of St. Landry

Parish, Louisiana, was a licensed nurse practitioner in the state of Louisiana. In 2016,


Chatman-Ashley applied for and obtained a Medicare provider number, and in doing

so, agreed to abide by the terms, laws, and regulations of Medicare.
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       15. Company 1 [ACC] was a New York limited liability company owned and

operated by Individual 1 and Individual 2 that purported to do business in New Jersey;

and elsewhere.


       16. Company 2 [AIM] was a Maryland corporation owned and operated by

Individual 1, Individual 2, and others, that purported to do business in New Jersey and

elsewhere.


       17. Company 3 [EnVision It] and Company 4 [Royal Physicians] were Georgia

limited liability companies operated by Individual 3 that purported to do business in

Georgia and elsewhere.


       18. Chatman-Ashley worked as an independent contractor for Company 1,

Company 2, Company 3, and Company 4 (collectively, the "Telemedicine Companies"),

to provide purported telehealth services to beneficiaries.

                               The Scheme to Defraud

       19. Chatman-Ashley executed a scheme and artifice to defraud Medicare by

submitting, and causing to be submitted, over $2 million in false and fraudulent claims

to Medicare for medically unnecessary DME, for which Medicare reimbursed over $1

million.

      20. Specifically, Chatman-Ashley ordered knee braces, suspension sleeves

and other braces for beneficiaries who she had not examined in-person and who had not

been examined by a treating provider. These orders for braces and sleeves, as


Chatman-Ashley knew, were: (a) induced in part by the payment of kickbacks and
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bribes; (b) not the product of a doctor-patient relationship and examination; (c) not

medically necessary; and (d) not eligible for reimbursement by Medicare.

                               Purpose of the S_cheme


      21. The purpose of the scheme was for Chatman-Ashley to unlawfully enrich

herself by:

              a. Receiving kickbacks and bribes in exchange for the furnishing and

arranging for the furnishing, and arranging and recommending the purchasing and

ordering of, DME to beneficiaries by various DME providers;

              b. submitting and causing the submission of false and fraudulent

claims to Medicare, including for services purportedly rendered to beneficiaries located

in the Western District of Louisiana and elsewhere;

              c. concealing the submission of false and fraudulent claims to

Medicare, and the solicitation and receipt ofkickbacks and bribes; and

              d. diverting proceeds of the fraud for the personal use and benefit of

the defendant.

                        Manner and Means of the Scheme

      22. The manner and means by which Chatman-Ashley sought to accomplish

the objects and purpose of the scheme and artifice included, among others:

      23. Chatman-Ashley certified to Medicare that she would comply with all

Medicare rules and regulations, including that she would not knowingly present or

cause to be presented a false or fraudulent claim for payment to Medicare, or submit or
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cause to be submitted claims with deliberate ignorance or reckless disregard of their

truth or falsify, and would not violate the Federal Anti-Kickback Statute.

      24. Despite this certification, from in or around July 2017 through in or around

August 2019, Chatman-Ashley signed more than one-thousand orders for DME for

beneficiaries, including for beneficiaries located in the Western District of Louisiana,

typically in the absence of a pre-existing provider-patient relationship, without an in-

person examination, regardless of medical necessity, and frequently based solely on a

short telephone conversation or no conversation at all, in exchange for kickbacks and


bribes from the Telemedicine Companies ("fraudulent orders").

      25. The fraudulent orders were based on information derived from, among

other things, telemarketmg and in-person solicitations of beneficiaries by

representatives of call centers and other companies, working with the Telemedicine

Companies, which advertised that beneficiaries suffering from back, joint, knee, and

other pain were eligible to receive braces at low or no cost to the beneficiaries. The

beneficiaries would provide the representatives, who were not trained medical

professionals, personal information in response to the solicitations, including their

names, unique Medicare identification numbers, and medical history. The

representatives would, provide the information to the Telemedicine Companies, which,

in turn, made the information available, typically electronically, to Chatman-Ashley,

which formed the basis of the fraudulent orders.

      26. Chatman-Ashley further concealed and disguised the scheme by

preparing or causing to be prepared false and fraudulent documentation and submitting
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or causing the submission of false and fraudulent documentation to Medicare.

Specifically, Chatman-Ashley submitted and caused to be submitted false and

fraudulent documents falsely certifying that (a) she had consulted with the

beneficiaries; (b) the beneficiaries want[ed], would like, or inquired about braces; (c)

she personally conducted "evaluation[s]", "examination[s]", and "assessment[s]" of the


beneficiaries, including performing various in-person examinations and diagnostic

tests; and (4) she instructed" beneficiaries on "compliance" and use of braces. In fact,


beneficiaries were actively solicited for braces; many explicitly refused the braces;

Chatman-Ashley never saw the beneficiaries face-to-face; she had either a brief

telephone conversation with these beneficiaries or none at all; and she did not conduct

the examinations and diagnostic tests as represented.


      27. In exchange for the fraudulent orders, Chatman-Ashley received

kickbacks and bribes from the Telemedicine Companies, knowing that her orders for

medically unnecessary DME would be used to support false and fraudulent claims to

Medicare.


      28. In order to conceal the kickbacks and bribes, payments made from certain

Telemedicine Companies, including Company 1, to Chatman-Ashley, were falsely

described in documentation as payments for "hours" when, in fact, Chatman-Ashley


was paid by Company 1 per DME order signed.

      29. In total, Chatman-Ashley caused the submission of over $2 million in

false and fraudulent claims to Medicare for DME, specifically knee braces, suspension

sleeves, and other braces, that were ineligible for Medicare reimbursement because the
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      braces were not medically necessary, were procured through the payment of illegal


      kickbacks and bribes, and were often not actually supplied to the beneficiaries. Of these

      claims, Medicare reimbursed the DME providers over $1,000,000.

                                           The Offenses

            30. Beginning in or around July 2017, and continuing through in or around

      August 2019, in the Western District of Louisiana, and elsewhere, Chatman-Ashley,

      aiding and abetting, and aided and abetted by, others known and unknown to the Grand

      Jury, in connection with the delivery of and payment for health care benefits, items, and

      services, did knowingly and willfully execute, and attempt to execute, a scheme and

      artifice to defraud a health care benefit program affecting commerce, as defined in Title

      18, United States Code, Section 24(b), that is, Medicare, and to obtain, by means of

      material false and fraudulent pretenses, representations, and promises, money owned


      by, and under the custody and control of, Medicare, in connection with the delivery of

      and payment for health care benefits, items, and services.


            31. On or about the dates and in the approximate amounts set forth below,

      within the Western District of Louisiana, Chatman-Ashley, for the purpose of

      executing and attempting to execute the fraudulent scheme described above, knowingly

      and willfully submitted, and caused to be submitted, to Medicare, the following false

      and fraudulent claims for payment:


                                                                    Date
                                                    Approx.                      Approx.     Approx.
                     Code                                          Services
Count Beneficiary              Claim Number         Date                         Amount      Amount
                     Billed                                     Purportedly
                                                  Submitted                       Billed          Paid
                                                                   Rendered

  1      K.M.        L1851    118360711640000      12/26/2018      12/21/2018    $1,455.30   $1,140.96
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                                                                    Date
                                                       Approx.                    Approx.     Approx.
                      Code                                        Services
Count Beneficiary              Claim Number             Date                      Amount      Amount
                     Billed                                      Purportedly
                                                   Submitted                       Billed          Paid
                                                                  Rendered

  2        L.A.      L1851     119042776351000     02/11/2019      02/05/2019     $1,750.00   $1,372.00

  3        M.J.      L1851     119045700891000     02/14/2019      01/31/2019      $875.48     $686.37


  4        J.p.      L1851     119057708236000     02/26/2019      02/22/2019     $2,000.00   $1,259.30


  5        J.R.      L1851     119105708367000     04/15/2019      04/09/2019     $1,791.21   $1,404.34


             Each of the above is a violation of Title 18, United States Code, Sections 1347 and

      2.



                                                       A TRUE BILL:



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